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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                        IN ADMIRALTY

                                     CASE NO 20-cv-21588-CMA
  MARK PITZO,

         Plaintiff,
  v.

  CARNIVAL CORPORATION,

              Defendant.
  _______________________________/

                        CERTIFICATE OF INTERESTED PARTIES AND
                          CORPORATE DISCLOSURE STATEMENT

         Defendant, CARNIVAL CORPORATION, by and through undersigned counsel hereby files,

  pursuant to Federal Rule of Civil Procedure 7.1(a), its Certificate of Interested Parties and Corporate

  Disclosure Statement as follows:

         1.      Mark Pitzo, Plaintiff.

         2.      Carnival Corporation, Defendant.

         Defendant, CARNIVAL CORPORATION, by and through undersigned counsel, and

  pursuant to Federal Rule of Civil Procedure 7.1 discloses that it is a publicly traded company whose

  common stock is listed on the New York Stock Exchange and there are no parent corporations or

  publicly held corporations that hold ten percent or more of its stock.

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 11, 2020, I electronically filed the foregoing document

  with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel of record or pro se parties identified on the attached Service List in the
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  manner specified, either via transmission of Notices of Electronic Filing generate by CM/ECF or in

  some other authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.

                                                 Respectfully submitted,

                                                 DONNISE DESOUZA WEBB, ESQ
                                                 CARNIVAL CORPORATION
                                                 3655 N.W. 87th Avenue
                                                 Miami, Florida 33178-2428
                                                 (305) 406-4838 Direct Phone
                                                 (305) 599-2600 Ext. 18024 Assistant’s Phone
                                                 (305) 406-4732 Telefax
                                                 Dedicated Judge’s Phone (305) 406-5399
                                                 (For Judges only)

                                                 By:    s/ Donnise DeSouza Webb, Esq.
                                                        Donnise DeSouza Webb, Esq
                                                        FLA. BAR NO: 879398

                                           SERVICE LIST

  DONNISE DESOUZA WEBB, ESQ.                      MARK KELLEY SCHWARTZ, ESQ.
  ddesouza@carnival.com                           mschwartz@driggersschultz.com
  3655 N.W. 87th Avenue                           Florida Bar No. 0190070
  Miami, FL 33178                                 2600 West Big Beaver Road, Ste. 550
  Telephone: (305) 406-4838                       Troy, MI 48084
  Facsimile: (305) 406-4732                       Tel: (248) 649-6000
  Attorney for Defendant, CARNIVAL                Fax: (248) 649-6442
                                                  Attorney for Plaintiff, PITZO


                          [Service via CM/ECF Notice of Electronic Filing]
